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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA                        )     CRIMINAL NO.: 19-CR-268-4 (TSC)
                                                  )
                                                  )
               v.                                 )
                                                  )
  AIMER ALBERTO ALVARAN                           )
  POSADA,                                         )
  also known as “Hermanito,” “Poveda,”            )
  and “Santi,”                                    )
                                                  )
                         Defendant.               )

                             PRETRIAL SCHEDULING ORDER

       1.       TRIAL. Trial of this matter will commence on April 28, 2025, at 9:30 a.m., in

Courtroom 9.

       2.       PRE-TRIAL CONFERENCE. In-person pre-trial conferences will be held on

March 21, 2025, at 10:30 a.m. The court will rule on all pre-trial motions and objections to

proposed exhibits, to the extent possible, at the pre-trial conference, hearing argument as

necessary.

       3.       PRE-TRIAL MOTIONS. Any motions to suppress evidence, and any other pre-

trial motions (including motions in limine), shall be filed on or before February 3, 2025.

Oppositions shall be due on or before February 17, 2025, and replies shall be due on or before

March 3, 2025. The parties may file additional motions as needed. The Court will schedule a

hearing on the motion(s) as necessary.

       4.       Fed. R. Evid. 404(b) NOTICE. Not later than March 3, 2025, the government

shall provide notice of evidence it intends to offer pursuant to Fed. R. Evid. 404(b).




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       5.      PROPOSED JURY INSTRUCTIONS. Counsel shall file proposed jury

instructions and a proposed verdict form—jointly, to the extent possible—on or before April 10,

2025. To the extent that they are pattern jury instructions from the current version of the Red

Book, it is sufficient simply to list the numbers of those instructions. Special instructions shall be

submitted verbatim with citations to cases and other authorities to support each instruction.

       6.      BRADY AND GIGLIO. The government is under a continuing and ongoing

obligation to provide defense counsel any favorable or exculpatory information (Brady) as it

becomes available, whether or not admissible in evidence. Brady information must be disclosed

on a rolling basis and “the duty to disclose is ongoing.” Pennsylvania v. Ritchie, 480 U.S. 39, 60

(1987). To the extent it has not already done so, the government must disclose information that

may be useful for impeachment or may otherwise affect the credibility of any government

witness (Giglio) —including Lewis material—by April 11, 2025. United States v. Celis, 608 F.3d

818, 835-36 (D.C. Cir. 2010). Giglio obligations are also ongoing. The government may request

a protective order limiting the disclosure of Giglio information by defense counsel.

       7.      EXPERT WITNESSES. The parties shall disclose any updates to their expert

witness lists, accompanied by a brief description of each witness’s area of expertise and expected

testimony, by March 3, 2025.

       8.      EXHIBIT LISTS. The parties shall exchange lists of exhibits they intend to use

in their cases-in-chief by April 7, 2025. The parties shall file objections to the admissibility of

exhibits, to the extent practicable, by April 14, 2025, and replies shall be filed not later than

April 21, 2025. All exhibits are to be marked in advance of trial and listed in order on the exhibit

form obtained from the Courtroom Deputy Clerk. The written list of exhibits must contain a brief




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description of each exhibit. At the commencement of trial, counsel shall furnish the Court with

two sets of binders containing their exhibit lists and copies of their pre-marked exhibits.

       9.      WITNESS LISTS. The parties shall exchange lists of witnesses they intend to

call in their cases-in-chief by April 10, 2025. On that same date, the government shall also

provide to the defense all Brady or Giglio material not previously provided pertaining to each

witness on the list. Counsel will not be absolutely bound by the witness lists or the sequence. In

some cases, security concerns may justify nonidentification of witnesses by the government until

shortly before they are actually called. These situations, if any, shall be brought to the Court’s

attention in camera when the witness list, excluding those names, is provided to defense counsel.

       10.     VOIR DIRE. Chambers will send counsel Judge Chutkan's standard voir dire.

Counsel shall jointly submit both a short narrative description of the case, to be read to the

prospective jurors, and proposed voir dire questions on or before April 10, 2025. Counsel shall

only submit questions not covered in Judge Chutkan's standard voir dire.

       11.     JURY SELECTION. Except as already provided herein, the Court will

summarize its jury-selection procedures at the pre-trial conference.

                 3 2024
Date: September ___,
                                                  Tanya S. Chutkan
                                               ___________________________________
                                               HON. TANYA S. CHUTKAN
                                               UNITED STATES DISTRICT JUDGE
                                               UNITED STATES DISTRICT COURT
                                               FOR THE DISTRICT OF COLUMBIA




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